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                            EXHIBIT 1
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                                         #:2436


 1                       UNITED STATES DISTRICT COURT
 2|                     CENTRAL DISTRICT OF CALIFORNIA

 3                                       * * * *


 4| UNITED STATES OF AMERICA, )
                                         )
 5|                    Plaintiff, )
 6|                                      ) CASE NO. 2:24-CR-00702-ODW
                                         )
 7|                                      )
 8| ALEXANDER SMIRNOV, )
                                         ) FILED UNDER SEAL
 9|                    Defendant, )
10 I                                    J
11                                    EXHIBIT 1
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